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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE                      )
 OF THE NAACP, LEAGUE OF WOMEN                      )
 VOTERS OF PENNSYLVANIA,                            )
 PHILADELPHIANS ORGANIZED TO
                                                    )
 WITNESS, EMPOWER AND REBUILD,
 COMMON CAUSE PENNSYLVANIA,                         )      Civ. No. 1:22-cv-339
 BLACK POLITICAL EMPOWERMENT                        )
 PROJECT, and MAKE THE ROAD                         )
 PENNSYLVANIA,                                      )
                                                    )
                           Plaintiffs,              )
                                                    )
       v.                                           )
                                                    )
 LEIGH M. CHAPMAN, in her official                  )      FILED ELECTRONICALLY
 capacity as Acting Secretary of the                )
 Commonwealth, et al.,                              )
                                                    )
                      Defendants.                   )
 ____________________________________

                                 NOTICE OF APPEARANCE

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Plaintiffs Pennsylvania State Conference of the NAACP, League of Women Voters

of Pennsylvania, Philadelphians Organized to Witness, Empower and Rebuild, Common Cause

Pennsylvania, Black Political Empowerment Project, and Make the Road Pennsylvania.


                                                        Respectfully submitted,

Dated: November 7, 2022                                 s/ Richard T. Ting
                                                        Richard T. Ting (PA 200438)
                                                        ACLU OF PENNSYLVANIA
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